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Case 2:05-cr-00578-JFW Ddcument 2301 Filed 11/13/06 Page 1of1 Page ID #:1509

 

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CRIMINAL MINUTES -- GENERAL lu
CaseNo. CR 05-578(A)-JFW Dated: November 13, 2006
PRESENT: HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE
Shannon Reilly None Mark Young
Courtroom Deputy Court Reporter Asst. U.S. Attomey

Not Present
No Interpreter

 

 

 

U.S.A. vs (Dfts listed below) Attorneys for Defendants
28. Ruben Medina 28. Robert Ramsey
Not Present - In Custody Not Present - Apptd.

PROCEEDINGS: STATUS CONFERENCE VACATED

Counsel are hereby notified that the Status Conference on November 13, 2006 as to Ruben
Medina is vacated.

 

ROCKETED ON CM |

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